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 MINUTE ENTRY
 November 15, 2018

 ELIZABETH E. FOOTE
 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF LOUISIANA
 SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                       CRIMINAL NO. 16-cr-00214-02-03, 05

 VERSUS                                         JUDGE ELIZABETH FOOTE

 DAVID SMITH, KENNETH LAMPKIN,                  MAGISTRATE JUDGE HORNSBY
 and LIONEL KOONS


       In order to address the Government’s motions in this matter [Record Documents

 175-177], the Court hereby SETS a hearing for 9:00 a.m. on November 28, 2018.

 These motions will be addressed in advance of the sentencings scheduled to begin at 9:30

 a.m. that morning.

       IT IS SO ORDERED.




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